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                                             NO. 23-1324

                United States Court of Appeals
                                                 for the

                                    Fourth Circuit

                                    COMPASS MARKETING, INC.,
                                                                                 Plaintiff-Appellant,
                                                 – v. –
                   FLYWHEEL DIGITAL LLC; JAMES COLUMBUS DIPAULA, JR.;
                     PATRICK MILLER; DANIEL J. WHITE; MICHAEL WHITE;
                             GEORGE WHITE; ASCENTIAL PLC,
                                                                           Defendants-Appellees.

                                    _____________________________
                        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND AT BALTIMORE


                  BRIEF OF APPELLEES DANIEL J. WHITE, MICHAEL
                           WHITE, AND GEORGE WHITE


              BRUCE L. MARCUS                        JEFFREY M. SCHWABER
              SYDNEY M. PATTERSON                    JUDITH G. CORNWELL
              MARCUSBONSIB, LLC                      STEIN SPERLING BENNETT DEJONG
              6411 Ivy Lane, Suite 116                  DRISCOLL PC
              Greenbelt, Maryland 20770              1101 Wootton Parkway, Suite 700
              (301) 441-3000                         Rockville, Maryland 20852
              bmarcus@marcusbonsib.com               (301) 340-2020
              spatterson@marcusbonsib.com            jcornwell@steinsperling.com
              Attorneys for Defendant-Appellee       jschwaber@steinsperling.com
              Daniel J. White                        Attorneys for Defendants-Appellees
                                                        Michael White and George White




                                                     (800) 4-APPEAL • (809357)
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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

             In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
             In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
             In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
             Any corporate amicus curiae must file a disclosure statement.
             Counsel has a continuing duty to update the disclosure statement.


        No. __________             Caption: __________________________________________________

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________, makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES      NO


        2.      Does party/amicus have any parent corporations?                                   YES NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES NO
                If yes, identify all such owners:




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




        Signature: ____________________________________                    Date: ___________________

        Counsel for: __________________________________




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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
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             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


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        No. __________             Caption: __________________________________________________
                                            Compass Marketing, Inc. v. Flywheel Digital, LLC, et al.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Michael White and George White
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          Appellees           makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Judith G. Cornwell
        Signature: ____________________________________                     Date: ___________________
                                                                                         4.14.23

                     Michael White and George White
        Counsel for: __________________________________




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                                    STATEMENT OF THE CASE

              Appellees, Daniel White, Michael White, and George White (together, the

        “Whites”), hereby adopt and incorporate by reference the Statement of the Case set

        forth in the brief filed on even date by Appellees, Flywheel Digital LLC, James

        Columbus DiPaula, Jr., Patrick Miller, and Ascential PLC (together, the “Flywheel

        Defendants”).

                                     STANDARD OF REVIEW

              This Court reviews the district court’s decision not to allow Compass leave to

        amend its Complaint for abuse of discretion. New Beckley Min. Corp. v. Int’l Union,

        18 F.3d 1161, 1164 (4th Cir. 1994).

                               SUMMARY OF THE ARGUMENT

              Compass alleged a single RICO count against all defendants in addition to a

        count for RICO conspiracy. To sustain this RICO claim it was incumbent upon

        Compass to plead a RICO enterprise comprised of all defendants. In attempting to

        demonstrate that it had satisfied this burden, Compass made abundantly clear before

        the district court that the RICO enterprise it purportedly alleges in the Complaint is

        Compass itself. The district court rejected this argument and noted that the

        Complaint does not allege Compass is the RICO enterprise, nor does it properly

        allege an association-in-fact enterprise because there is no allegation of collaboration




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        or agreement among all the defendants to engage in the pattern of racketeering

        conduct alleged. JA295.

              Faced with the dispositively fatal flaw in its Complaint, Compass now

        abandons its argument that Compass itself is the RICO enterprise and argues for the

        first time on appeal that, instead, it properly pled an association-in-fact enterprise.

        Compass waived this argument and it should not be considered on appeal.

              Even if considered, the RICO claim and RICO conspiracy claim would

        nevertheless fail because Compass failed to allege the three structural features of an

        association-in-fact required to support a RICO enterprise. Critically, there is no

        reading of the facts set forth in the Complaint that plausibly supports the allegation

        that an enterprise existed with all defendants as its members and operated with the

        purpose or relationships the law requires.

              The district court further correctly found that even if Compass had sufficiently

        pled a RICO enterprise, its RICO claims against George White would fail because

        the alleged run-of-the-mill employment dispute between George White and

        Compass over the single act of a purported IT lockout do not qualify as a pattern of

        racketeering activity under the RICO statute.

              Finally, Compass never asked the district court for leave to amend its

        Complaint as it related to the Whites. Moreover, Compass does not propose a single




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        fact which, even if it had sought and been granted leave to amend, would cure the

        fatal flaws in the Complaint and save Compass’s RICO claims.

                                           ARGUMENT

            I.   Compass Waived Any Argument that the Complaint Properly Pled a
                 RICO Enterprise by Association-in-Fact.

                 Before the district court, Michael White and George White argued in their

        motion to dismiss that while the Complaint does not identify any specific enterprise

        among the Whites, Compass appeared to try to allege an association-in-fact

        enterprise, as opposed to a legal entity. 1 In Compass’s consolidated opposition to the

        Whites’ motions to dismiss, Compass disposed of any notion that the RICO

        enterprise pled in the Complaint was one established through association-in-fact. 2

        Instead, Compass argued that“[t]he RICO enterprise alleged in the Complaint is

        Compass itself.” Id. (emphasis in original).

                 The district court found “Compass’ willingness to implicate itself in a

        racketeering scheme” was “curious[,]” and further remarked that in making this self-

        incriminating argument, Compass had even “mischaracterize[d] the allegations in

        the Complaint.” JA296. The district court held that the Complaint “only



        1
          See SA10-11, Defendants Michael White and George White’s Motion to Dismiss
        (“Motion to Dismiss”), at 11-12, ECF 41.
        2
         See SA38, Response in Opposition to Motion to Dismiss of Defendants Daniel
        White, George White, and Michael White (“Opposition”), at 14, ECF 47.
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        substantively describes the RICO ‘enterprise’ as Flywheel, not Compass itself[, and]

        [n]owhere does Compass allege that it was the RICO enterprise through which the

        Whites operated.” JA296.

              Compass’s declaration to the district court was unequivocal. As the district

        court noted, Compass made abundantly clear that the intended RICO enterprise it

        pled was “Compass itself.” JA296. Before this Court, Compass not only abandons

        that argument but pretends it never happened. Incredibly, Compass now

        disingenuously suggests for the first time on appeal that the Complaint “pled

        sufficient facts to demonstrate a RICO association-in-fact enterprise” under Counts

        III and IV. Appellant’s Brief (“Br.”) at 40, 46-7. Even worse, Compass blames the

        district court for prematurely taking from the jury the question of whether an

        association-in-fact enterprise existed. Id. at 45.

              Although this Court retains the discretion to address arguments not previously

        raised in the first instance before a lower tribunal, that discretion is exercised

        “sparingly.” Greer v. Gen. Dynamics Info. Tech., Inc., 808 Fed. Appx. 191, 195 (4th

        Cir. 2020). It is well-settled that “[a]bsent exceptional circumstances” this Court

        does not consider issues raised for the first time on appeal. Id. No exceptional

        circumstances exist here.

              Like Compass in this case, the plaintiff in Greer appealed the grant of a

        motion to dismiss for failure to state a claim. 808 Fed. Appx. at 195. One of


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        plaintiff’s claims, which alleged a violation of an Executive Order, was dismissed

        by the district court because the Executive Order lacked a private right of action. Id.

        at 194. On appeal, the plaintiff argued for the first time that his claim was actually

        one for common law deceit. Id. at 193-95. Finding no exceptional circumstances,

        this Court declined to address the newly raised argument noting that it “w[ould] not

        result in a miscarriage of justice.” Id. (internal quotations omitted). 3 The

        circumstances here compel the same result.

              It is fundamental to the very doctrine of preservation of issues for appeal that

        Compass cannot defend a motion to dismiss before the district court by affirmatively

        arguing that the RICO enterprise it alleges in the Complaint “is Compass itself,”

        and then when that argument fails, completely change course by advancing a

        contrary argument on appeal. See Gilbert v. United States Bureau of Alcohol,

        Tobacco, Firearms & Explosives, 805 F. App’x 198, 203 (4th Cir. 2020) (“If a party

        wishes to preserve an argument for appeal, the party must press and not merely

        intimate the argument during the proceedings before the district court.”); accord Ball

        v. United States, 967 F.3d 1072, 1078 (10th Cir. 2020). (“The proceedings in district

        court are not just a rehearsal, a dry run, for the ultimate performance on appeal,

        where the parties can discard what did not work below and introduce new scenes for



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          All internal citations and quotation marks are omitted throughout unless otherwise
        stated.
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        a new audience.”). Compass has not identified anything remotely exceptional about

        the circumstances in this case that would justify a departure from this Court’s well-

        established practice of declining to consider arguments raised for the first time on

        appeal. To allow this sort of litigation tactic to prevail would be a miscarriage of

        justice and contrary to the interests of judicial economy. See Ball, 967 F.3d at 1078

        (“In fairness to opposing parties and to prevent further burden on overburdened

        courts caused by interminable litigation, we expect parties ‘to give it everything

        they’ve got at the trial level.’”).

        II.    The District Court Correctly Held That Compass Failed to Plead a RICO
               Enterprise.

               Compass alleged a single civil RICO claim and RICO conspiracy claim

        against all defendants. 18 U.S.C. §§ 1962(c), 1962(d). To sustain these claims, it was

        incumbent upon Compass to plead a RICO enterprise comprised of all defendants.

        The district court correctly found that Compass failed to adequately allege the

        existence of such an “enterprise.”

               For purposes of a RICO claim under § 1962(c), a plaintiff must demonstrate

        injury in his property or business that stems from a pattern of racketeering activity

        through which the defendant commits criminal acts by conducting or participating

        in the conduct of the affairs of any “enterprise” engaged in interstate or foreign

        commerce. See 18 U.S.C. §§ 1962(c); Cedric Kushner Promotions Ltd. v. King, 533

        U.S. 158, 161 (2001). A RICO conspiracy claim requires that the plaintiff allege

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        and prove that a RICO enterprise existed; that the defendant agreed to conduct or

        participate in the affairs of the enterprise; and knew and agreed that another member

        of the enterprise would commit at least two or more acts of racketeering. Chambers

        v. King Buick, LLC, 43 F. Supp. 3d 575, 607–08 (2014).

              To establish the “enterprise” requirement, the plaintiff must show “the

        existence of two distinct entities: (1) a ‘person’; and (2) an ‘enterprise’ that is not

        simply the same ‘person’ referred to by a different name.” Cedric, 533 U.S. at 161.

        A RICO enterprise is characterized by “continuity, unity, shared purpose, and

        identifiable structure.” United States v. Fiel, 35 F.3d 997, 1003 (4th Cir. 1994). An

        “enterprise” within the purview of RICO encompasses two types of organizations:

        “legal entities” such as partnerships, corporations, or associations, and “any union

        or group of individuals associated in fact although not a legal entity.” 18 U.S.C. §

        1961(4); United States v. Turkette, 452 U.S. 576, 581–82 (1981).

              On appeal, Compass, for the very first time, accuses Appellees of involvement

        with an association-in-fact enterprise, which is “a group of persons associated

        together for a common purpose of engaging in a course of conduct.” Boyle v. United

        States, 556 U.S. 938, 946 (2009). An association-in-fact enterprise can exist without

        formal structural elements like a chain of command. See id. at 947-48. Nevertheless,

        “[t]he ‘enterprise’ is not the ‘pattern of racketeering activity’” and “proof of one

        does not necessarily establish the other.” Turkette, 452 U.S. at 583. Rather, “it is an


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        entity separate and apart from the pattern of racketeering activity in which it

        engages” and its separate existence must be alleged and proven. Griffin, 660 F.2d at

        999 (quoting Turkette, 452 U.S. at 583). To adequately plead the existence of an

        association-in-fact RICO enterprise, a plaintiff must demonstrate “at least three

        structural features: a purpose, relationships among those associated with the

        enterprise, and longevity sufficient to pursue the enterprise’s purpose.” Boyle, 556

        U.S. at 946.

              Here, Compass failed to adequately plead an association-in-fact enterprise

        because the Complaint does not sufficiently allege the three structural features

        critical to support a RICO enterprise allegation. Significantly, no reading of the facts

        alleged in the Complaint can support a finding that an enterprise operated with the

        purpose or relationships the law requires. Instead, the Complaint is best read to

        allege that the individual defendants and entities engaged in independent conduct for

        different purposes, even assuming they all shared a generalized motive to harm

        Compass.

              A.       Common Purpose.

              Where, as here, the RICO enterprise charged is an association-in-fact, this

        Court has recognized that “the purpose of the association, along with the

        composition of the group,” is essential to plead and prove such entity’s “separate”




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        existence, as it is “only in these two dimensions that such an entity would seem to

        have any discrete existence.” Griffin, 660 F.2d at 999.

              Here, Compass alleged that the Whites “share[d] a common purpose of

        harming Compass to hide the impropriety of their corporate spending for personal

        financial gain.” JA74 ¶ 254. The Flywheel Defendants are alleged to “share the

        common purpose of using Compass [sic] stolen trade secrets, proprietary business

        know how, and confidential information for economic gain.” JA74 ¶ 250. According

        to Compass, these separate enterprises joined to form the RICO enterprise with the

        common purpose of “using Compass’s trade secrets and other confidential business

        information to harm Compass.” Br. at 43 n.11. Distilled to its essence, the RICO

        claim attempts to create an association-in-fact of two groups of defendants who

        allegedly committed separate acts which separately harmed Compass. Compass thus

        confuses the result of the alleged acts of racketeering with the common purpose of

        the association-in-fact. Compass does so despite specifically alleging the contrary:

        namely, that each group of defendants committed the alleged acts of racketeering

        with a different purpose. To be clear, as alleged, the specific purpose of the Flywheel

        Defendants was to obtain a competitive advantage over Compass in the marketplace,

        while the Whites’ specific purpose was personal financial gain. JA74 ¶¶ 250, 254.

              The Complaint is devoid of any allegations of fact to support the conclusory

        statement that the Whites shared a common purpose of causing competitive


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        economic harm to Compass, their employer at the time. It is simply not enough to

        assert that the Whites acted in furtherance of a purpose completely against their

        interests without any allegations of fact to support the same. 4 Compass did not

        allege any well-pled facts to support the existence of an agreement or collaboration

        with the Flywheel Defendants to steal trade secrets or any promise of remuneration

        to the Whites in exchange for committing unlawful acts and jeopardizing their own

        employment, the future of their employer and family company. These allegations

        are contrary to logic and unsupported by well-pled facts. See Ashcroft v. Iqbal, 556

        U.S. 662, 678 (2009) (“To survive a motion to dismiss, a complaint must contain

        sufficient factual matter, accepted as true, to state a claim to relief that is plausible

        on its face.”).

               Here, the predicate acts allegedly committed by each group of defendants do

        not give rise to even an inference of a common purpose among all defendants. This

        case is thus distinguishable from Griffin, where the evidence showed that the

        defendants had paid bribes to law enforcement to obtain favorable treatment for their


        4
          The allegations that the Whites used and relied on Compass funds to personally
        enrich themselves over a period of years is at odds with the allegation that they
        shared a common purpose with the Flywheel Defendants of sharing trade secrets
        with Compass’s main competitor, thereby jeopardizing the potential future earnings
        of Compass and the funds available to allegedly misappropriate to their own
        individual uses. Compass makes no attempt to reconcile this inconsistency between
        the “common purpose” of the alleged RICO enterprise and the detailed allegations
        in the Complaint which describe Daniel White and Michael White acting in
        furtherance of a single goal to steal from Compass for their own personal gain.
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        respective gambling operations. 660 F.2d at 997–98. This Court “concede[d] the

        question to be a close one” but concluded that an enterprise existed because the

        defendants shared a common purpose of protecting illegal gambling operations in

        Baltimore, Maryland that was distinct from, and yet served by, each of the predicate

        acts of bribery. See id. at 1000–01; accord Browning v. Flexsteel Indus., Inc., 955 F.

        Supp. 2d 900, 913 (N.D. Ind. 2013) (holding that a RICO enterprise exists only if

        the “shared interests” of enterprise members are “truly common interests, rather than

        parallel interests”).

               Nor is this a case where the allegations demonstrate that the predicate acts

        alleged are necessary steps toward a larger goal shared by members of the alleged

        enterprise. In United States v. Palacios, 677 F.3d 234 (4th Cir. 2012), for example,

        the evidence showed that the members of the enterprise, the MS-13 gang, shared the

        common purpose of “establishing and maintaining a reputation for violence” in order

        to protect individual members. Id. at 249. This common purpose was distinct from

        the predicate acts of “committing violent crimes” and the use of firearms. Id.

               Here, Compass has alleged nothing more than that the separate predicate acts

        of each group of defendants had similar results in that they generally harmed

        Compass, albeit in separate and distinct ways. As to the Whites, the Complaint failed

        to allege any common purpose among them distinct from the alleged predicate acts

        of misappropriating funds for personal use. The mere allegation that the Whites


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        misappropriated corporate funds for personal financial gain does not demonstrate

        the existence of an enterprise even among the Whites, much less the alleged RICO

        enterprise comprised of all defendants.

              The Complaint’s description of the Whites’ purposes is indistinguishable from

        the alleged predicate acts. Courts routinely reject such RICO claims where, as here,

        the Complaint fails to identify a common purpose other than committing predicate

        acts. See, e.g., Cruz v. FXDirectDealer, LLC, 720 F.3d 115, 121 (2d Cir. 2013)

        (affirming dismissal of complaint that alleged only “that the members of the

        enterprise associated together for the common purpose of employing” the fraudulent

        practices alleged as predicate acts); Guaranteed Rate, Inc. v. Barr, 912 F. Supp. 2d

        671, 687 (N.D. Ill. 2012) (complaint did not allege association-in-fact enterprise

        when it failed to “present a single factual claim asserting the RICO Defendants had

        any interest in the outcome of the alleged scheme beyond their own individual

        interests” in the predicate acts of mail and wire fraud); Cedar Swamp Holdings, Inc.

        v. Zaman, 487 F. Supp. 2d 444, 451 (S.D.N.Y. 2007) (dismissing complaint that

        “simply groups together all of the individuals and entities involved in the

        racketeering acts and calls them an enterprise”).

              Even if Compass had identified a common purpose other than committing

        predicate acts, the Complaint does not adequately plead that the Whites conducted

        the enterprise’s affairs rather than their own affairs. Reeves v. Ernst & Young, 507


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        U.S. 170, 185 (1993) (RICO “liability depends on showing that the defendants

        conducted or participated in the conduct of the ‘enterprise’s affairs,’ not just their

        own affairs.”). Of the predicate acts of misappropriation alleged against Daniel and

        Michael White, none involved the Flywheel Defendants who Compass alleges were

        part of the supposed association-in-fact enterprise. Instead, the allegations in the

        Complaint indicate that the purported participants in the enterprise pursued their own

        affairs. JA74 ¶¶ 250, 254. When a Complaint “alleges only that the RICO persons

        joined together for the purposes of conducting their own affairs[,]” it does not

        sufficiently allege a RICO enterprise distinct from defendants. Reeves, 507 U.S. at

        185.

               B.    Relationships Among Members of the Enterprise Functioning as a
                     Continuing Unit.

               An association-in-fact must function as a continuing unit and exhibit

        “relationships among those associated with the enterprise.” Boyle, 556 U.S. at 946.

        With regard to the relationships among those associated with the enterprise, the

        Complaint fails to allege facts or specific allegations regarding the relationships

        between any of the Flywheel Defendants, on one hand, and any of the Whites on the

        other hand, much less “how they function[ed] as a continuing unit” for a common

        purpose. Grant v. Shapiro & Burson, LLP, 871 F. Supp. 2d 462, 473 (D. Md. 2013)

        (dismissing RICO complaint that lacked factual allegations regarding the

        relationships among defendants and how they functioned as a unit).

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              The only relationship Compass alleges among the members of the alleged

        RICO enterprise is that all individual defendants were employed by Compass during

        a limited period of time from on or about 2010 to September 2014, when DiPaula

        and Miller left Compass. JA30–33, JA35, JA39, JA43–44. Subsequent to 2014,

        Compass does not allege any ongoing interpersonal relationship, collaboration,

        agreement, or communication between the Whites and the individual defendants

        DiPaula and Miller.

              The sole allegation connecting any of the Whites and any of the Flywheel

        Defendants after 2014 is an allegation that Daniel White wrote two checks to

        DiPaula for a total of $35,000. JA63–64 ¶¶ 203, 205. Although Compass alleges

        that these funds went to support the funding and operation of Flywheel, the

        Complaint sets forth no well-pled facts to support this conclusory statement. JA65 ¶

        207. This so-called “severance payment scheme” alleged by Compass is the single

        allegation in the Complaint which attempts to show any connection between the

        alleged predicate activities of the two groups of defendants. No other fact alleged by

        Compass suggests any coordination, collaboration, or agreement among the alleged

        members of the enterprise.

              Compass’s mere allegations that the Whites were employed by Compass at

        the same time as DiPaula and Miller, and that all were engaged in predicate acts of

        racketeering is insufficient to establish the existence of an enterprise among all


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        defendants. The allegations are likewise insufficient even to demonstrate an

        enterprise consisting solely of the Whites. A RICO enterprise requires the existence

        of collaboration or agreement between the members of the enterprise and allegations

        that “several individuals, independently and without coordination, engaged in a

        pattern of crimes listed as RICO predicates” is “not [] enough to show that

        individuals were members of an enterprise.” Boyle, 556 U.S. at 947 n.4 (2009); see

        In re Ins. Brokerage Antitrust Litig., 618 F.3d 300, 370 (3d Cir. 2010) (stating that

        to satisfy the RICO enterprise element plaintiffs must “allege something more than

        the fact that individuals were engaged in the same type of illicit conduct during the

        same time period”).

              The Complaint lacks well-pled allegations of fact regarding an ongoing

        relationship, collaboration, or agreement among the defendants at any time, and the

        district court correctly found the allegations insufficient to support the existence of

        an alleged RICO enterprise among all defendants. Such “vague allegations of a

        RICO enterprise . . . lacking any distinct existence and structure will not survive

        dismissal.” Mitchell Tracey v. First Am. Title Ins. Co., 935 F. Supp. 2d 826, 843 (D.

        Md. 2013).

              C.     Separateness of the Enterprise and the Pattern of Racketeering.

              Finally, Compass fails to allege an enterprise that exists separately and apart

        from the alleged pattern of racketeering activity. In the district court, Compass


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        attempted to make up for this failure by alleging, in its oppositions to the motions to

        dismiss, that the RICO enterprise alleged in the Complaint was “Compass itself”

        which also existed for the legitimate purpose of providing marketing and consulting

        services. This argument failed and Compass has now fully abandoned it. Having

        done so, it further abandoned any conceivable hook upon which it could have hung

        an argument that there was an enterprise existing separately from the alleged

        racketeering activity.

              A primary purpose of the RICO statute was to eliminate the “infiltration of

        organized crime and racketeering into legitimate organizations.” Reeves, 507 U.S. at

        185 (quoting S. Rep. No. 617, 91st Cong., 1st Sess. 76 (1969)). As a result, Courts

        have allowed RICO actions to proceed where the complaint plausibly alleges that

        the members of the enterprise are collectively engaged in legitimate business during

        the same period of time for the purpose of concealing their illegal enterprise. See,

        e.g., United States v. Tillet, 763 F.2d 628, 632 (4th Cir. 1985) (narcotics trafficking

        enterprise existed separate and apart from its illegal activity because it also ran a

        “legitimate business front”, i.e., a seafood restaurant, “for the smuggling

        operation”); Chambers, 43 F. Supp. 575, 592 (D. Md. 2014) (plaintiff adequately

        pled an enterprise comprised of a used car dealer and associated companies that

        illegally sold vehicles without disclosing their prior use as short-term rentals that




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        had “an existence separate and apart from its pattern of racketeering activity because

        it was also engaged in legitimate vehicle sales transactions.”).

               Although the defendants engage in legitimate business activities individually,

        Compass does not allege that they did so in association together with the other

        members of the alleged “enterprise” on an ongoing and continuous basis. The

        Complaint contains no allegation that the alleged enterprise had any existence

        whatsoever beyond that which was necessary to commit the predicate acts.

        Accordingly, Compass failed to adequately allege the existence of a RICO

        enterprise.

        III.   There are No Alleged Facts that Demonstrate George White Engaged in
               a Pattern of Racketeering. 5

               “A civil RICO claim is a unique cause of action that is concerned with

        eradicating organized, longterm, habitual criminal activity.” U.S. Airline Pilots

        Ass’n v. Awappa, LLC, 615 F.3d 312, 317 (4th Cir. 2010). Because the penalties



        5
          Compass mistakenly interprets the district court’s silence to mean that the district
        court agreed the Complaint pled a pattern of racketeering activity against Daniel
        White and/or Michael White. However, courts need not address additional elements
        of a claim when, like here, the absence of one alone is dispositive. See In re Pieterse,
        No. 20-17425-MCR, 2021 WL 2189188, at *13 (Bankr. D. Md. May 28, 2021).
               In any event, review of the claims against Daniel and Michael White does not
        reveal a pattern of racketeering activity made up of separate schemes with multiple
        putative victims and multiple distinct injuries. Rather, it depicts nothing more than
        a “garden variety” dispute among brothers about the use of their family-run
        company’s funds, which will not sustain a RICO claim. See, e.g., Foster v.
        Wintergreen Real Estate Co., 363 Fed. Appx. 269, 273 (4th Cir. 2010).
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        under the civil RICO statute are considered “drastic,” “RICO liability is reserved for

        cases involving ongoing unlawful activities whose scope and persistence pose a

        special threat to social well-being.” Id.

              To this end, to sustain a RICO claim, a plaintiff must plead a “pattern of

        racketeering activity,” which “requires at least two acts of racketeering activity.” 18

        U.S.C. §§ 1961(1), (5). This Circuit does not lightly permit ordinary business

        contract disputes or other disputes arising in the ordinary run of an employment

        context to be transformed into federal RICO claims. See, e.g., Maryland-National

        Capital Park and Planning Comm’n v. Boyle, 203 F. Supp. 2d 468, 477 (D. Md.

        2002). This is precisely what Compass tries to do here.

              On appeal, Compass argues that George White’s alleged IT lockout somehow

        in its own right constitutes a “pattern” because Compass got locked out of more than

        one business record or account. 6 Br. at 48–49. However, nothing in the Complaint

        suggests that this purported IT lockout could not or did not occur on a single day

        with one fell swoop. Regardless, even assuming it takes more than one click of a

        button to accomplish an IT lockout, this ordinary dispute between an employer and


        6
          Compass wisely abandons its allegation below that George White extorted
        Compass by asking for a raise. To the extent Compass accuses George White on
        appeal of “fraudulent spoliation” (whatever that is), Br. at 49, this allegation is not
        in the Complaint. See JA51-54. In any event, assuming, arguendo, it was true for
        purposes of this appeal, this type of conduct perhaps would implicate the discovery
        rules but would have nothing to do with the Federal RICO statute.

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        an employee does not “resemble the sort of extended, widespread, or particularly

        dangerous pattern of racketeering which Congress intended to combat with federal

        penalties,” Flip Mortg. Corp., 841 F.2d at 538; Boyle, 203 F. Supp. 2d at 477. Even

        the authority cited by Compass makes this point clear. See Br. at 48 (relying on

        inapposite authority describing widespread and complex fraud schemes).

        IV.    The District Court Did Not Abuse Its Discretion by Denying Compass
               Leave to Amend.

               Compass disingenuously argues the district court erred by granting the

        Whites’ motions to dismiss “with prejudice and without any opportunity to amend

        (despite Compass’s request for such leave).” Br. at 3. However, Compass never

        asked the district court for leave to amend its allegations against the Whites. 7 See

        Opp’n at 14, ECF 47. 8 Therefore, the district court’s purported “refusal” to grant

        relief not requested cannot conceivably constitute an abuse of discretion. Cozzarelli

        v. Inspire Pharm. Inc., 549 F.3d 618, 630–31 (4th Cir. 2008) (affirming denial of

        leave to amend where plaintiff’s request appeared in a footnote in the opposition to

        a motion to dismiss).




        7
         Compass only expressly requested leave to amend in its opposition to the Flywheel
        Defendants’ motion to dismiss. JA258. Compass’s only mention of leave to amend
        as it related to the Whites was included in the proposed order filed with the
        Opposition.
        8
            SA38.
                                                 19
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               Furthermore, to the extent Compass could prevail on its suggestion that its

        inclusion of a check-the-box option in a proposed order qualifies as a proper motion

        for leave to amend under Fed. R. Civ. P. 7(b) and 15(a), see id., “[a] court may refuse

        to allow leave to amend pleadings when the proposed changes would be futile.” New

        Beckley Min. Corp., 18 F.3d at 1164 (affirming denial of leave to amend where

        proposed amendment still failed to plead a RICO enterprise). Compass did not

        proffer to the district court, nor has it proffered to this Court, what allegations it

        could “expound upon” in the already 372-paragraph Complaint to sufficiently plead

        the “enterprise” element of RICO. See Br. at 49-51. Compass cannot avoid the

        futility of a proposed amendment simply by not proposing anything at all. In any

        event, any proposal would be futile. Nowhere in its brief does Compass dispute the

        district court’s correct finding that neither Compass nor Flywheel is the enterprise,

        and Compass conceded below that the Whites did not act through an association-in-

        fact enterprise. See Opp’n at 14, ECF 47. 9 Thus, the RICO claims are unsalvageable.

               Compass’s argument rings equally hollow with regard to how it could cure its

        failure to allege that George White engaged in a pattern of racketeering activity.

        Again, rather than identify a single purported fact it would add with an amendment,

        Compass simply declares it “should be given leave to amend to include additional




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            SA38.
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        facts” about “George [Whites]’s participation in the enterprise.” Br. at 51. This falls

        far short of the prerequisite hurdle to be jumped by Compass at this stage.

              Neither of these ill-conceived arguments plausibly demonstrate an abuse of

        discretion. 10 See Cozzarelli, 549 F.3d at 630-31; see also Green v. AMF Bowling

        Centers, Inc., Civil Action No. ELH-19-1410, 2020 WL 6204297, at *5 (D. Md. Oct.

        21, 2020) (quoting Bonin v. Calderon, 59 F.3d 815, 845 (9th Cir. 1995)) (“[A]

        district court does not abuse its discretion in denying a motion to amend where the

        movant presents no new facts but only new theories and provides no satisfactory

        explanation for his failure to fully develop his contentions originally.”)).

                                          CONCLUSION

              In conclusion, the allegations in the Complaint, even when viewed in the light

        most favorable to Compass, do not plausibly set forth facts sufficient to find a RICO

        enterprise. This Court should affirm the decision of the district court.




        10
          Compass does not cite a single decision where any appellate court held the district
        court abused its discretion in denying a plaintiff’s request for leave to amend. See
        Br. at 50-51.
                                                  21
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                                  Respectfully submitted,

         STEIN SPERLING BENNETT DE JONG              MARCUSBONSIB, LLC
         DRISCOLL PC
         /s/ Jeffrey M. Schwaber                     /s/ Bruce L. Marcus
         Jeffrey M. Schwaber (Bar No. 06095)         Bruce L. Marcus (Bar No. 06341)

         /s/ Judith G. Cornwell                      /s/ Sydney M. Patterson
         Judith G. Cornwell (Bar No. 20777)          Sydney M. Patterson (Bar No. 19036)

         1101 Wooton Parkway, Suite 700              6411 Ivy Lane, Suite 116
         Rockville, Maryland 20852                   Greenbelt, Maryland 20770
         (301) 340-2020                              (301) 441-3000
         (301) 354-8131 (facsimile)                  (301) 441-3003 (facsimile)
         jschwaber@steinsperling.com                 bmarcus@marcusbonsib.com
         jcornwell@steinsperling.com                 spatterson@marcusbonsib.com

         Counsel for Michael White and George        Counsel for Daniel White
         White




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                             CERTIFICATE OF COMPLIANCE
                     WITH TYPEFACE AND WORD-COUNT LIMITATIONS

              We, Judith G. Cornwell and Sydney M. Patterson, counsel for Appellees,

        Michael White and George White, and Daniel White, respectively, and members of

        the Bar of this Court, certify, pursuant to Federal Rule of Appellate Procedure

        32(a)(7)(B), that the attached Brief of the Whites is proportionately spaced, has a

        typeface of 14 points of more, and contains 4971 words. 11

                                                            /s/ Judith G. Cornwell
                                                            /s/ Sydney M. Patterson
                                                            Judith G. Cornwell
                                                            Sydney M. Patterson




        11
          This Court granted the Appellees’ joint consent motion to file separate briefing.
        The Appellees collectively agreed to allocate 5,000 of the total permitted 13,000-
        word count to the Whites and 8,000 to the Flywheel Defendants.
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